                                                                                   FILED
                                                                         UNITED STATES DISTRICT COURT
                                                                                         NEW MEXICO
                           IN THE UNITED STATES DISTRICT COOFIJOUERQUE'
                                                                                           2 2020
                               FoR THE DrsrRrcr oF NEw               MExICo        MAY 1                ,,:




LTNITED STATES OF          AMEzuCA,                                     :    MITGHELL R.     ELFERS      J
                                                         )
                                                         )
                                                                        ''           CLERK               ;
                  Plaintiff,                             )   CRTMTNALNo. A,o       _l[,tO 7P
                                                         )
         VS,                                             )   Count 1: 18 U.S.C. $ 545: Smuggling
                                                         )   Goods Into the United States;
CHARLES BRENT JUSTICE,                                   )
                                                         )   Count 2: 18 U.S.C. $$ 922(1) and
                  Defendant.                             )   92a@)(1)(C): Unlawtul Importation of a
                                                         )   Firearm;
                                                         )
                                                         )   Count 3: 26 U.S.C. $$ 5841, 5861(d), and
                                                         )   5871: Possession of a Firearm Not
                                                         )   Registered with the National Firearms
                                                         )   Registration and Transfer Record.


                                           INDICTMENT
The Grand Jury charges:

                                                         Count   1



        From on or about December 1,2019 until about February 7,2020, in the District of New

Mexico, and elsewhere, the defendant, CHARLES BRENT JUSTICE, did knowingly and

fraudulently import and caused to be imported to the United States, one and more silencers,

knowing that importing the silencers was illegal.

        In violation of 18 U.S.C. $ 545.

                                                   Count 2

        On or about February 7 ,2020, in Bernalillo County, in the District of New Mexico, and

elsewhere, the defendant,      CHARLES BRENT JUSTICE knowingly,                and without

authorization from the Attorney General, as provided in 18 U.S.C. $ 925(d), imported and brought

into the United States a firearm, that is, a silencer.
       In violation of 18 U.S.C. S$ 9220) ard924(a)(1xc).




                                            Count 3

       On or about February 19,2020, in Bernalillo County, in the District of New Mexico, the

defendant,   CIIARLES BRENT JUSTICE, knowingly              possessed a firearm, that is, a silencer,

not registered to him under the National Firearms Registration and Transfer Record.

       In violation of 26 U.S.C. $$ 5841, 5861(d), and 5871.




                                                   A TRUE BILL:




                                                      ls/
                                                   FOREPERSON OF THE GRAND JURY
